                         Case 3:16-bk-03913-JAF                 Doc 37       Filed 02/14/18          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: hodgen                       Page 1 of 1                          Date Rcvd: Feb 12, 2018
                                      Form ID: 31813                     Total Noticed: 3


Notice by first class      mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 14, 2018.
db            #+Lilly      Josephine Real,   10023 Belle Rive Blvd. Apt 1303,   Jacksonville, FL 32256-9580
               +Frank      E. Polo, Sr.,   9619 Fontainebleau Blvd. Apt. 317,   Miami, FL 33172-6870
cr             +Frank      Polo,   1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 14, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 12, 2018 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;dee.jackson@usdoj.gov;Chantal.sabino@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
                Case 3:16-bk-03913-JAF             Doc 37      Filed 02/14/18        Page 2 of 2
[31813] [Order Striking]




                                        ORDERED.
Dated: February 12, 2018




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                   Case No. 3:16−bk−03913−JAF
                                                                         Chapter 7
Lilly Josephine Real
fka Lilliana Maria Real



________Debtor*________/

                      ORDER STRIKING NOTICE OF FILING CLOSING ARGUMENTS
    This case came on for consideration upon the Court's own motion. On February 9, 2018 , Frank E. Polo Sr.
filed a Notice of Filing Closing Arguments without original signature as required by Fed. R. Bank. P. 9011. It
is

   Ordered:

   The Notice of Filing Closing Arguments is stricken from the record.


*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
